IN THE UNITED STATES DISTRIC'I` COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
AT NASHVILLE

THOMAS PEELER )

)
Plaintiff )

)
vs ) No.

) .]URY DEMAND
REXEL HOLDINGS USA dib/a ) JUDGE
REXEL, INC. and REXEL, INC. )

)

) MAGISTRATE
Defendants )

COMPLAINT

Comes now Plaintiff, by and through counsel, and files for his cause of action

the following:
JURISDICTION AND VENUE

1. This action is brought under the SARBANES»OXLEY ACT and the FMLA.

2. This Court has jurisdiction under 28 U.S.C. 1331 to hear Plaintiff’s claims arising
under the Constitution and laws of the United States.

3_ This Court has jurisdiction under 28 U.S.C. 1343(4) to hear Plaintiff’s claims to
recover damages and to Secure equitable relief under any Act of Congress providing for the
protection of civil rights

4. This Court has supplemental jurisdiction over all state law claims alleged in this
complaint under 28 U.S.C. 1367 as there is a common nucleus of operative facts between state and

federal law claims.

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 1 of 7 Page|D #: 1

5. Venue is appropriate in the Middle District of Tennessee under 28 U.S.C. 1391 (b)(2)
as this is the judicial district in which a substantial part of the events or omissions giving rise to this
claim occurred.

FACTS

6. Piaintiff, Thomas Peeler, is a resident of Surnner County, Tennessee.

7. Plaintiff was hired by Defendant in April of 1984.

8. Plaintit`f was hired as a receiving clerk.

' 9. Defendant, Rexel Holdings USA, exercises significant dominion and control over the
operation of Rexel, lnc. to be held liable for the conduct of Rexel, Inc_, its employees and agents.
lO. Defendant, Rexei, is a global leader in the distribution of electrical supplies and
services, serving three main end markets: industrial, commercial and residential. Defendant does
business in the State of Tennessee in Davidson County, Tennessee.

11. Plaintiff’s job performance met or exceeded the expectations of Defendant
throughout his career until Defendant began discriminating against him.

12. During his employment with Defendant, Plaintiff’,s job title and responsibilities
changed in relation to his experience and qualifications At the time of the acts complained of
herein, Piaintiff held the job title of Outside Sales and was paid by commission oniy.

13. During his tenure as Outside Sales, Plaintiff’s job performance exceeded the
expectations of Defendant in volume of sales as well as customer growth.

14. Det`endant had an accounting system known as “Cash Account” wherein
contractors/ customers would receive special rebate pricing through corporate contracts with vendors
such as Sylvania, General Electric, Allen-Bradley and Square D. These are entities from which

Defendant purchased product for ultimate retail sale.

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 2 of 7 Page|D #: 2

15. An example would be light bulbs Defendant purchased from Sylvania. Defendant
would purchase light bulbs from Sylvania at book price. Bool< price is the is the price Sylvania
charged Defendant for light bulbs.

16. Certain ultimate customers ofDefendant, such as contractors or industrial customers,
were eligible for special reduced pricing of product such as light bulbs through contracts between
Defendant and entities such as Sylvania. As an incentive from Sylvania for the low costs of product
to Defendant, Defendant would agree to order a certain volume of product from Sylvania or other
entities

17. At the end of a fiscal quarter or month Defendant would “file back” to receive rebates
from these entities such as Sylvania based upon the volume of product sold only to qualified
customers This was cash coming back to Defendant.

18. However, in an effort to increase the amount of cash coming back to Defendant from
these entities, Defendant would run “counter purchases” through the “registered cash accounts.”
Counter purchases were not qualified for these special savings and rebates. Defendant would run
individual customer purehases, “counter purchases,” through the qualified accounts and then submit
the sale back to an entity such as Sylvania in order to receive rebates it was otherwise not qualified
for. This resulted in significant profit for Defendant it was not otherwise entitled to.

19. Plaintiff became aware of this accounting process as to other employees in the
company It`had become common knowledge what was being done to increase Defendant’s profit.
This was being done in violation of global contracts Defendant had with these entities such as
Sylvania.

20. In or about 2011, Plaintiffs’S supervisor, “John,” introduced him and his co~

employees to a new manager, “Jeff.” This new manager was to become Plaintiff’ s supervisor. ln

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 3 of 7 Page|D #: 3

this meeting, Plaintiff and other employees present were told by “John” that “everyone knows’1 about
the misuse of the registered cash account. “John” admitted to the staff that is was fraud and the
“company could be in big trouble because we’re a publicly traded company.”

21. Defendant knew that Plaintiff not only opposed the practice but refused to remain
quiet about the same.

22. Plaintiff’ s new supervisor began taking his customer accounts and assigning them
to less experienced Outside Sales persons This was done in an effort to force Plaintiff to resign as
his income was based solely on commissions

23. In addition, Plaintiff` s supervisor began berating and demeaning Plaintiff in front of
other Outside Sales personnel and creating a hostile work environment that significantly inhibited
him from performing the essential functions of his job. This hostile environment caused Plaintif`f
to suffer significant depression, extreme stress, anxiety, embarrassment and humiliation.

24. The retaliatory conduct of Defendant and the hostile environment Plaintif`f was
subjected to prevented him from performing the essential functions of his job. Plaintiff was forced
to resign and therefore constructively discharged

COUNT I
Violations of Title VIlI of the Sarhanes-Oxley Act of 2002, 18 U.S.C. §1514A
25. Plaintiff incorporates herein by reference the factual allegations outlined in
paragraphs l through 24.
26. Rexel, Inc. is a “publicly traded company” as defined by the Sarbanes-Oxley Act of
2002, 18 U.S.C §1514A.

27. Plaintiff` opposed and refused to remain quiet about the conduct which he

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 4 of 7 Page|D #: 4

reasonably believed constituted a violation of section 1341, 1343, 1344 or 1348, any rule
or regulation of the Securities and Exchange Commission or any provision of Federal law relating
to fraud against shareholders

28. The information provided to Plaintiff came from a person with supervisory

authority over the employee or other such person working for the employer who has the
authority to investigate, discover or terminate misconduct

29. Defendant did discharge, threaten, harass and discriminate against Plaintiff in the

terms and conditions of employment because of any lawful act done by Plaintiff.

COUNT II
Violations of the Family Medical Leave Act, 29 U.S.C. §26|]1 et seq.

30. Plaintiff incorporates herein by reference the factual allegations outlined in

Paragraphs 37 through 43.

31. At all times complained of herein, Plaintiff was an eligible employee under the

Family Medicai Leave Act.

32. Plaintiff was employed by Defendant for more than 12 monthsl

33. Plaintiff suffered a serious health condition that made him unable to perform the

essential functions of his job. This condition, or conditions, were caused by the retaliatory
and harassing conduct of Defendant, or its agents.

34. With knowledge of Plaintit`f’s conditions, Defendant failed to engage in the

interactive process or otherwise engage Plaintiff for purposes of providing FMLA or other
medical leave. lnstead, Defendant constructively discharged Plaintiff.

35. Plaintiff alleges that the intentional acts and omissions as described herein by the

Defendant constitute violations of the Family Medical Leave Act in that Plaintiff.

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 5 of 7 Page|D #: 5

WHEREFORE, Plaintiff prays that the Court grant the following reliefto
Plaintiff:

1. Order Defendants, to make Plaintiff whole by providing him with
appropriate back pay with interest, front pay, insurance premiums and medical costs, with
pre-judgment interest, in amounts to be proven at trial, and other affirmative relief
necessary to eradicate the effects of Defendants’ unlawful employment practices.

2. That Defendants be permanently and forever enjoined from any
further prohibitive discrimination or retaliation against Plaintiff.

3. Order that Defendants make Plaintiff whole by providing
compensation for non-pecuniary losses, including emotional pain, suffering,
inconvenience, mental anguish, embarrassment and humiliation in an amount to be
proven at trial.

4. Plaintiffbe awarded compensatory damages in an amount to be
determined at the trial of this cause.

5 . That Plaintiff be awarded punitive damages in an amount to be
determined at the trial of this cause.

6. That Plaintiff be awarded reasonable attorney's fees, including
litigation expenses and costs for having to bring this manner.

7. That Plaintiff be granted such other relief as the Court deems just

and proper.

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 6 of 7 Page|D #: 6

PLAINTIFF DEMANDS A TRIAL BY JURY.

ANDY L. ALLMAN & ASSOCIATES

\\*,
BY:

ANDY L. ALLMAN - #17857
103 Bluegrass Comrnons Blvd
Hendersonville, Tn. 37075

(615) 824-3761

Case 3:14-cv-00898 Document 1 Filed 04/02/14 Page 7 of 7 Page|D #: 7

